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                                                                                        FILED
                                                                            United States Court of Appeals
                        UNITED STATES COURT OF APPEALS                              Tenth Circuit

                              FOR THE TENTH CIRCUIT                                    May 11, 2022
                          _________________________________
                                                                               Christopher M. Wolpert
                                                                                   Clerk of Court
  COMPANIA DE INVERSIONES
  MERCANTILES S.A.,

        Petitioner - Appellee,

  v.                                                             No. 21-1324
                                                        (D.C. No. 1:15-CV-02120-JLK)
  GRUPO CEMENTOS DE CHIHUAHUA                                     (D. Colo.)
  S.A.B. DE C.V.; GCC
  LATINOAMERICA, S.A. DE C.V.,

        Respondents - Appellants.
                       _________________________________

                                       ORDER
                          _________________________________

 Before HOLMES, MATHESON, and ROSSMAN, Circuit Judges.
                  _________________________________

        Appellants have filed an emergency motion for stay of turnover order pending

 appeal upon posting supersedeas bond. In deciding whether to grant a stay pending

 appeal, we consider the traditional factors: “(1) whether the stay applicant has made a

 strong showing that he is likely to succeed on the merits; (2) whether the applicant will be

 irreparably injured absent a stay; (3) whether issuance of the stay will substantially injure

 the other parties interested in the proceeding; and (4) where the public interest

 lies.” Nken v. Holder, 556 U.S. 418, 434 (2009) (internal quotation marks omitted); see

 also Fed. R. App. P. 8(a); 10th Cir. R. 8.1. This court “may condition relief on a party’s

 filing a bond or other security in the district court.” Fed. R. App. P. 8(a)(2)(E).
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        We have evaluated appellants’ motion under these standards, and we find (as in

 the court’s previous order denying a stay pending appeal) that appellants have failed to

 show irreparable harm if a stay does not issue. We therefore deny their motion.


                                              Entered for the Court



                                              CHRISTOPHER M. WOLPERT, Clerk




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